Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 1 of 27




                         IN TH E UN ITED STATES D ISTRICT COU RT
                       FOR THE SOUTHERN DISTRICT OF FLORID VILED BY - .                                 D.C.
                                       M IAM ID IV ISION

   uxRcospAoRox,onbehalror                                              I        DEC2?2217
   TheUNITEDSTATESOFAMERICA,and                                         j
                                                                        '        styk
                                                                                    rkypzl.
                                                                                          ,
                                                                                          )a
                                                                                           ,.1Mo.iy
   MARCOSPADRON,individually,                                           (
                                                                        l.
                                                                                 s%;Eos
                                                                                  . ,M'
                                                                                      )FVS.sr
                                                                                           D'V.uk'-
                                                                                                  u'
                                                                                                   k,
         Plaintiffs5

                                                    CaseN o.: 17-cv-24687 Ungaro
                                                    FILE D UNDER SEA L
   US M ED,LLC and UN ITED STATES                   Jury TrialD em anded
   M EDICA L SUPPLY,LLC,

         Defendants.


                                     OUITAM COM PLAINT

         PlaintiffsUnited StatesofAmerica(the tbGovernment''),by and through RelatorM arcos
   Padron,and M arcosPadron (û'laadron''),individually,sueDefendantsUS M ed,LLC (E%US M ed-')
   and United StatesMedicalSupply,LLC (''USM S'')and state:
                                Parties.Jurisdiction,and Venue

                Padron isa citizen ofthe USA. He isa residentofM iam i,Florida.

                Padron bringsthis action asa relatorforthe benefitofthe Governmentpursuantto

   the FalseClaimsAct,withtheapplicablestatutorysectionslocated in31USC jj3729- 3232.
                Padron also brings this action individually due to a retaliatory and adverse

   employmentaction inaccordancewith3lUSC j3730(h),aswellasthisCourt'ssupplementaland
   pendentjurisdiction pursuantto28 USC jl367sincePadron'sFloridastatelaw whistleblower
   claim (CountIV)isso closelyrelatedto theotherclaimssetforth herein.
                U S M ed m aintains its principaladdress in M iam i,Florida. Its m anager,Stephen

   Forem ansisa residentofFlorida.
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 2 of 27




                  USM S maintains its principaladdress in M iam i,Florida. lts m anagers,Patricio

   Casillasand Stephen Forem an,are residentsofFlorida.

          6.      V enue is appropriate in the Southern D istrictofFlorida,M iam iDivision,asthis is

   w here U S M ed and USM S are Iocated and transactbusinessand where the retaliatory and adverse

   em ploymentconductdescribed herein occurred.

                                           G eneralA lleeations

      A. US M ed Backeround

                  US M ed operates a m ailorder pharm acy and is a supplier of durable m edical

   equipment(':DM E'')
          8.      US M ed is an authorized, accredited supplier of DM E pursuant to M edicare's

   Durable M edicalEquipment-Prosthetics,Orthotics and Supplies (:'DM EPOS'') Competitive
   Bidding Program .

                  M edicare, Pal't B Coverage, covers medically, reasonably necessary DM E

   prescribed by a physician such as blood sugartesting strips (a/k/a diabetic testing strips) and
   inhalation drugs used in nebulizers               A lbuterol Sulfate. Ipratropium Brom ide, and

   Albuterol/lpratropium (iwlnhalationDrugs).
           l0.    M edicare is a federal program adm inistered by the Centers for M edicare &

   M edicaid Services(û'CM S''),which isa federalagency within the United States Departmentof
   HeaIth and Hum an Services.

                  Thus,U S M ed isan authorized and accredited M edicare,Pal'tB supplierof DM E

   (including Inhalation Drugsand supplies). US Med dispenses Inhalation Drugsand diabetic
   testing strips in virtually every state w ithin the United States.




                                                     2
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 3 of 27




                 US Med isalsoaIicensed pharmacyin Florida(and manyotherjurisdictionsasa
   nonresidentpharmacythatthedrugsitdispensesaremailedtoo). In Florida,USM ed'spharmacy
   license isP1423521. Itscurrent,licensed pharmacistisAdrienne M ichelle Horn (Iicense#52589
   with an effective date of 7/24/17) and its supervising practitioners include Stephen Foreman
   (effectivedate 2/22/17),John Harroff(effectivedate 7/31/15),and Camilio Horvilleur(effective
   date7/3l/15),aspharmacyaffiliates.
                 Priorto Adrienne M ichelle Horn serving asthe licensed pharm acistforU S M ed's

   pharmacy,thepharmacistwasFernando L.Garcia(License#PS34075).
      B. USM S Backaround

                 U SM S isa related sisterentity to U S M ed.

                 USM S isalso an authorized and accredited PartB M edicare supplierofDM E.

                 USM S is also authorized and accredited w ith Florida's A gency of H eaIth Care

   Adm inistration (AHCA)asaproviderofhomemedicalequipment(Iicense#1313231).AHCA is
   responsible for the implementation of M edicaid in Florida. (US M ed is not believed to be
   authorized and accredited with AHCA asaproviderofDM E).
                 USM S isnota Iicensed pharm acy in Florida.

      C. Padron'sD iscoverv.lnvestieationsand Reportine

          I8.    O n A pril30,2015,Padron washired asthe D irectorofPharm acy ofU S M ed. He

   was hired in a nonclinicalrole to handle the callcenter operations and w arehouse and shipping

   operations(businessooperations). Padron was hired by US M ed's founderand former CEO
   ZacharySchiffman.(ExhibitttA''sDeclarationofPadron,!2).
          19.    After Padron was hired, H.I.G .Capital, LLC,a private equity investm ent firm ,

   recapitalized and procured ow nership in US M ed. In doing so,in oraround late 20l6,US M ed
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 4 of 27




   hired Stephen Forem an as the new CEO,M ary Ellen Conway asthe ChiefCom pliance O fficer,

   Thom as Barron as the Chief Sales Officer,and Patricio Casillas asthe VP ofBusiness Strategy.

   (ExhibitûûA'e5T3)
          20.    Patricio CasillasbecamePadron'sdirectsupelwisoratUS M ed.(Exhibit$dA''5!3)
                 Patricio Casillas also becam e a directsupervisorofK im berly Broom ,the Director

   of DM E Operations. Kim berly Broom 's departm ent handles US M ed's and USM S'S DM E

   M edicare billing to CM S. She is also m arried to US M ed'sChiefFinancialOfficerClydallBob.

   Both Kim berly Broom and ClydallBob were em ployed atU S M ed priorto H.I.G.Capital,LLC 'S

   recapitalization ofUS M ed.(ExhibittiA''5!4).
                 In oraround July 2017,the pharm acistFernando L.G arcia resigned and A drienne

   M ichelle Horn was hired to replace him as US M ed's Iicensed pharmacist (and Sr.Clinical
   PharmacistinchargeofaIIClinicalDecisions).(Exhibit::A'',!5).
                 A drienne M ichelle Horn notified Padron thatsom ething appeared wrong with the

   mannerin w hich US M ed had been dispensing Inhalation Drugsin the past. In Iooking closerand

   investigating this concern,Padron learned thatFernando L.Garcia,as the pharm acist,had been

   changing the frequency ofpatientsprescribed Inhalation Drug orders,thereby altering the quantity

   of an Inhalation Drug dispensed to a patient. For exam ple,ifa physician's prescription for an

   Inhalation Drug called fora frequency offourdaily treatm ents,U S M ed wasonly dispensing three

   daily treatments. Thisaltered the prescribing physician's prescription (withoutany identifiable
   consentfrom thephysician)andshort-changedtheprescribedquantityoftheInhalationDruggiven
   to a patient. M oreover,Padron Iearned thatUS M ed's M edicare billing departm entto CM S w as

   notrevising billings to M edicare,m eaning that CM S w as being billed forthe fullvalue ofthe

   prescription (four daily treatments ofthe lnhalation Drug) when,in reality,only three daily
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 5 of 27




   treatm entsw ere being dispensed to the patient. Thisnaturally had the effectofan over-billing to

   CM S forM edicare funds thatwentback potentially a num berof years relating to the m anner in

   which US M ed had been dispensing and billing CM S for M edicare funds relating to Inhalation

   Drugs.(Exhibit$tA''5!6).
                   Alarm ingly,how ever,Padron learned m uch m ore. Padron learned that Fernando

   L.Garcia had not been perform ing drug utilization reviews (DUR) prior to dispensing the
   Inhalation Drugs.l No reasonable or apparent efforthad been m ade or input into U S's M ed's

   A bacus database 2 regarding patient m edical history including m edical conditions, chronic

   conditions,allergies,or other drugs a patientw as currently taking that could interfere w ith the

   prescribed Inhalation Drug. Thislack ofDUR wasextrem ely upsetting to Padron because w ithout

   a D UR,US M ed could have been dispensing drugswhere a patientcould be allergic to the drug.

   could have a drug-to-drug interaction, or m ay have a drug-to-existing-medical-condition

   interaction. Further,notperform ing any DUR orhaving any m edicalrecords orprogress notes

   from a physician priorto dispensing the Inhalation Drugsm eantthatUS M ed could be dispensing

   drugsw ithoutensuring the drugsw ere medically and reasonably necessary to the patient,asCM S

   requiresforM edicarefunds.(ExhibitttA''5!7)
                   Padronalso Iearned thatFernando L.Garcia,asthe pharm acist,had been dispensing

   Inhalation Drugsw ithoutany patientcounseling being offered to the patient.3 Therewasno verbal

   orw ritten offerto counsela patientregarding the prescribed Inhalation Drug orany record in the



   1By way ofexample,Florida Administrative Code Rule 64816-27.800 requiresa pharm acy to collectand maintain
   patientrecordsandRule64B16-27.810requiresapharmacisttoconductprospectivedrug usereviews. (Thisisalso
   requiredassetforth inotheraspectsin Section64B I6ofFlorida'sAdministrativeCode.)
   2US M ed previously used Abacuspharmacy softwareasitsdatabase from opening through on oraboutJuly 2017.
   After,US M ed stopped using Abacusand isnow using Caliber 1by HBSRX pharmacy sohware asitsdatabase.

   3By way ofexample,Florida Adm inistrative CodeRule 64B 16-27.820 requirespatientcounseling.


                                                       5
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 6 of 27




   Abacuspharm acy databaseofthe patientforegoing the offered counseling and U S M ed'sdatabase

   did notdocumentany such efforts,whether to the patientorthe patient's caregiver,as the case

   maybe.(Exhibit(SA''9!8)
          26.    Padron also learned thatU SM S,which isnota licensed pharm acy,was using U S

   M ed'spharm acy to dispensethe drugsthatU SM S billsfordirectly. Padron'sdirectsupervisoris

   a m anagerofUSM S. USM S hascontractsto prescribe drugsto M edicare-approved private health

   insurance providers through M edicare's Part C Coverage. These plans are also referred to as

   M edicare Advantage Plans. Padron learned thatUSM S is billing the M edicare Advantage Plans

   for Inhalation Drugs when the Inhalation Drugs w ere not being dispensed by U SM S,butby US

   Med(sinceUSM S isnotalicensed pharmacy).(Exhibiti$A'',!9)
                 Padron determ ined thatm oving forw ard no lnhalation Drug prescriptionsw ould be

   unilaterally altered,and no drugswould bedispensedw ithoutobtaining apatient'sm edicalrecords

   and conducting aDUR andofferingpatientcounseling.(Exhibit6CA''!10)
          28.    Padron then m etw ith the Pharm acy Supervisoratthetim e,CherylFoye,to inquire

   abotltFernando L.G arcia'schanging oflnhalation D rug treatm entsto patients. Padron Iearned in

   this conversation that the pharm acist apparently had an unw ritten rule not to dispense any

   Inhalation Drug treatm ents that called for a frequency of fbur times per day and would short-

   change such patients by onetreatmentperday (by only dispensing Inhalation Drugsthatwould
   satisfy a frequency ofthree times perday). Padron also Iearned thatthis was done without
   obtaining the prescribing physician's consent. Padron further Iearned thatdue to the volum e of

   work required,the pharm acy did nothave the resources to callpatientsortheirphysiciansto get

   m edicalrecords,conducta D UR,and no patientcounseling w as being offered. Padron further

   learned thatno effortsw ere being m adeto advise U S M ed'sDM E M edicare billing departm entof




                                                 6
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 7 of 27




   these salientfacts,which would include an over-billing to CM S forM edicare funds where CM S

   was being billed forfourdaily prescribed treatm ents but,in actuality,only three daily prescribed

   treatmentswerebeingdispensed.(Exhibitû$A''!11)
                  Padron im m ediately wentto hissupervisor,Patricio Casillas,to reportto him w hat

   he Iearned and thathefsrm ly believed thesediscovered practicesorissuesto be irregular,unethical,

   and fraudulent/illegal.Padron reported to hissupervisorthathe would notship outany Inhalation

   Drugs (orany drugs,forthatmatter)withoutcorrections moving forward regarding obtaining
   patientrecords,conducting D URS,and offering patientcounseling. Padron asked Patricio Casillas

   whetherhe w anted to discussthe issue ofthe previous im properbillings to CM S w ith K im berly

   Broom (DirectorofDM E Operations) and Patricio Casillas advised Padron to speak with her
   directly.(ExhibitiçA''5!12)
          30.     Padron m etw ith K im berly Broom to reportto her ofthe practices regarding the

   im properM edicarebillings,thathedid notknow how farback thisissuew ent,and thatthisbilling

   issue needs to be reported to CM S and rectified w ith overbillings returned. Padron also notifsed

   K im berly Broom regarding the Iack ofD URSand patientcounseling underFernando L.Garcia's

   pharm acy regim e, w hich posed a health safety risk to patients and w hether m edically and

   reasonably necessary drugswerebeingdispensed.(Exhibit::A''5!13)
                  A few days Iater, Padron had a follow-up conversation w ith Patricio Casillas

   regarding his conversation w ith Kim berly Broom . Patricio Casillas expressed serious concern

   w ith Padron's im pactto stop dispensing Inhalation Drugs withoutperform ing a D UR oroftkring

   patientcounseling sincethatdecision hasa financialim pacton U S M ed and U SM S. Forinstance,

   if medical records had to be obtained for patients aw aiting an order so that a D UR could be
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 8 of 27




   performed,thiswould resultin a billing slow-down and immediate cash flow impact. (Exhibit
   (:A,,5rj4l
          32.    Padron and Patricio Casillas then had a discussion with Clydall Bob (Chief
   FinancialOfficer)where Padron again reported the issuesandpractices.Again,itwasdiscussed
   that Padron's decision to rem edy the situation m oving forward under his control posed an

   im m ediate cash tlow concern dueto the billing slow -dow n. Padron then stated thatupon learning

   ofthe practices he believed were irregular,unethicaland fraudulent/illegal,he wasnotgoing to

   continue w ith the same practices,particularly those that can harm a patientor violate Iicensing

   requirem ents,w ithoutdoing whathe could to correctthe issueshe could correctm oving forward.

   (ExhibitEEA''5!I5)
                 A few days later,Padron reported the issues and practicesdirectly to M ary Ellen

   Conway (ChiefCompliance Officer)and relayed the aforementioned conversationshe has had
   w ith others at U S M ed so that the issues could be addressed and self-reported to regulatory

   agencies.(Exhibit$$A''!16)
                 A few days Iater,Padron then spoke directly w ith the CEO Stephen Forem an.

   (Padron had previously been advised by hissupervisor,Patricio CasillassthatStephen Foreman
   had beennotifiedoftheissuesandpracticesPadron had reported.) Inadditionto Padron reporting
   these issuesand practicesto Stephen Forem an,he directly advised him thatUS M ed should notbe

   dispensing Inhalation Drugs that USM S is billing w hen USM S does nothave a valid pharm acy

   license and US M ed does not have the contract to dispense those drugs under M edicare's

   A dvantage Plans under M edicare's Pal
                                        't C Coverage.Padron advised of his uncom fortability

   continuing to do so since his understanding of M edicare billings requiresthatthe DM E supplier

   hasto havea licensed pharmacy and thatthe billing provider(USM S)hasto dispensethedrugs.



                                                  8
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 9 of 27




   Stephen Forem an,despite Padron'sdisagreem ent,responded thatsince USM S and US M ed have

   thesameownership,itisacceptableforUS M ed to dispensedrugsthatUSM S isbillingfor(even
   though USM S isnotaIicensed pharmacy). StephenForemanfurthernotified Padronthatthepast

   occurrenceswouldbeinternallyinvestigatedandtakencareof.(ExhibitûûA'',!17)
      D. Retaliation AzainstPadron

                 From in oraround July /A ugustof20l7 through the end ofN ovem ber20 l7,and

   notw ithstanding Padron's personalfollow-ups,Padron w as notadvised of any self-reporting to

   any regulatory agency ofany ofthe issueshe internally reported. This includesself-reporting any

   ofthe overbillings to CM S. To thispoint,Padron was noteven advised of any ongoing internal

   investigation into theseissues.(Exhibit(:A'' !18)
                 M eanwhile,the discovery of irregular,unethical,and fraudulent/ illegalpractices

   created a very tense, uneasys and stressful environm ent, specifically for Padron. He had

   independently orally reported the issuesand practicesto hissupervisorand otherswithin US M ed.

   He had worked to correctthose practices w ithin his controlm oving forward,despite backlash

   regarding the im m ediate financial cash tlow im pact correcting issues m oving forward w ould

   create. He was deeply concerned aboutthe well-being ofpatientsthatwere dispensed drugs by

   U S M ed'spharm acy w ithoutany DU R orpatientcounseling and w ith no understanding asto how

   US M ed and USM S was going to report or rem ediate past occurrences of this issue. He was

   nervousthatUS M ed had been im properly billing and over-billing M edicarew ith no understanding

   how US M ed wasgoing to reportorrem ediatethispastoccurrence. Hew asstressed asto potential

   pharmacy licensure violations,notonly in Florida butin otherjurisdictions where US Med
   OperatesaS a nonresidentPharm acy. And,US M ed's CEO .Stephen Forem an,CFO ClydallBob,

   and supervisorPatricio Casillaswere putting added pressure on Padron requiring the pharm acy to
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 10 of 27




    im prove itsfinancialnum bersand thatthe num bers in Septem berand Octoberwere unacceptable,

    furtherinsinuating thatPadron'sjob would be injeopardy ifthe numbersdid notdrastically
    improve(andthatPadronwasadrivingforcebehindIowernumbersduetothecorrectivemeasures
    hewasimplementingl.4 (ExhibitC6A''5!19)
                  O n the evening of Novem ber 28, 2017, Padron w as advised by the Pharmacy

   O perations M anagersArlene Orenstein,thatthe pharm acy was outofO ne Touch Diabetic Strips.

    Due to issuesand practicesthathe had reported and were being uncovered,and the factthatcash-

   flow im pactsw ere being directed to Padron,he becam e concerned why he w asfinding outabout

   thisissue afterworking hours. There is a fairly setschedule forUS M ed'sordering of inventory

    so nothaving inventory raises questions,particularly when the pharmacisthas discretion to order

   additionalinventory as-needed. The next m orning around 8am , Padron called the pharm acist,

   AdrieneM ichelleHorn(whowason herway tojury duty),inquiring why he Iearned thenight
    before thatthe pharm acy was outof One Touch Diabetic Strips. She advised Padron thatthere

    was sufficient inventory,raising a very dubious and troubling disconnect betw een whathe had

    been advised approxim ately fsfteen hours earlierby the Pharm acy Operations M anager. During

   the calland asPadron w astrying to reconcile the obviousdisconnect,the pharm acisthung up the

    phone. Thatafternoon Padron wasabruptly placed on paid suspension and he wasneveradvised

   w hatthe disconnectwas regarding inventory Ievels betw een the personnelw ithin the pharm acy

   thatdealw ith the inventory. On Decem ber l8,20I7,Padron's paid suspension cam e to an end

   and hisemploymentwasterm inated. (Exhibit$tA'' 20)
                  A Ilconditionsprecedentto briningthisaction have occurred,have been perform ed,

   orhave otherw ise been w aived.


   4Padron had previously advised US M ed personnelthathiswife had aserious,ongoingmedkalcondition.Padron
   needed hisemployment.
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 11 of 27




           39.     Padron has retained the undersigned counsel and is responsible for paying

    reasonable attorney's fees to prosecute these claim s.

                             CountI- O uiTam Action A eainstUS M ed
                        (Action under31U.S.C.43730(1))bv theGovernment)
           40.    The allegationsin paragraphs 1-39 are incorporated herein.

                   US M ed,from in oraround July /Augustof20l7 and earlier,wasover-billing CM S

    forM edicarefundsasthedirectresultof(i)itspharmacistknowinglyalteringand short-changing
    prescriptions for Inhalation Drug treatm entsw ithoutthe consentofthe prescribing physician,and

    withoutperforming any DUR oroffering any patientcotlnseling and (ii)its DM E Operations/
    billing departm entknow ingly billing orcausing to be presented false billsto CM S forM edicare

    based on the physician's prescription and notthe reduced quantity being dispensed,as w ellas

    knowingly billing or causing to be presented bills w ithout the docum entation to support the

    m edicaland reasonable necessity ofthe dispensed prescription.

                   US M ed waspaid by CM S forM edicare fundsbased on thefalsebillsand notbased

    on the actualquantity of Inhalation Drug treatments dispensed by US M ed's pharm acy (and
    withoutany reasonableeffortrelatingtothereasonableandmedicalnecessity ofthetreatment).
                   US M ed,pursuantto 31USC j3729,isliableto theGovernmentforacivilpenalty
    plusthree tim esthe am ountofdam ageswhich the United Statessustainsbecause ofthe actionsof

    US M ed.

                   US M ed,pursuantto 31USC jj3729and 3730,isIiablefortheGovernment's(and
    Padron's)reasonableattorney'sfeesand costs.
           W herefore,the Governm ent seeks aIlrelief available to it in accordance w ith the False

    C laim s Actincluding civilpenalties,three tim es the amountof dam ages w hich the Governm ent

    sustains,interest,attorney'sfees,anda1IotherreliefthisCourtdeemsjustandproper.
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 12 of 27




                                     Count11- O uiTam Action AtainstUSM S
                               (Action under31 U .S.C.43730(1))bv the Governm ent)
         45.The allegations in paragraphs 1-39 are incorporated herein.

         46.USM S know ingly subm itted and caused to be presented billsto CM S funded by M edicare

    through Part C M edicare Coverage where US M ed, not USM S, dispensed the prescription

    Inhalation D rugs. USM S could notdispense the prescriptionsin thatitisnota Iicensed pharm acy

    yetthe dispensed prescriptions were billed forby USM S.S US M ed, pursuantto 3lUSC j3729,

    is Iiable to the G overnmentfora civilpenalty plusthree tim es the am ountofdam ages which the

    Governmentsustains because ofthe actions ofU S M ed.6

         47.USM S waspaid by PartC M edicare Advantaged Plans forInhalation Drugssubsidized by

    CM S w hen the drugsw ere dispensed by U S M ed,notU SM S.

         48.USM S,pursuantto 3lUSC j3729,isliabletotheGovernmentforacivilpenaltyplusthree
    tim esthe am ountofdamageswhich the Governm entsustainsbecause ofthe actionsofUSM S.

         49.USM S,pursuantto 31USC jj3729and 3730,isIiablefortheGovernment's(andPadron's

    asarelator)reasonableattorney-sfeesand costs.
               W herefore,the Government seeks alIrelief available to it in accordance with the False

    C laim s Actincluding civilpenalties,three timesthe am ountofdam ages which the G overnm ent

    sustains,interest,attorney'sfees,andaIIotherreliefthisCourtdeemsjustandproper.
                              CountIII- Retaliatoa O uiTam A ction AeainstUS M ed
                                   (Action under31USC 43730(h)bv Padron)



    542CFR 42457(b)(4)provides.
            A supplierthatI-
                           tlnlishesadrtlgusedasaM edicare-coveredsupply with durablemedicalequiplnentorprostheticdevices
            mustbeliccnsedbytheStatetodispcnscdrugs(A Suppli      erofdrugsInustb1llandreceivepaymentt brthedrug in i  tst
                                                                                                                         'wn
            namc.A physician.whoisenrolledasaI. )M El3(-)Ssupplier.maydlspense,andbillfor.drugsunderthisstandardit-authorized
              by theStateaspal't()f'thephysicianDsIicensr.
    r'tJSM S is Iicensed with AHCA to furnish DM E- presumably forpurposes o1'M edicaid reimbursement. Padron hasno knowledgc rcgarding
    Medicaid billings and does notkllow u'hetherUS M L'D's lack of'DlCR or patientcounscling--requirelnents forpharmacies partlcipatlng in the
    Medicaid prograln--extend to Inhalation Drugsreimbtlrsedthrough Medicaid.
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 13 of 27




       50.Theallegationsin paragraphs l-39 are incorporated herein.

       5l.Padron was suspended and then discharged due,wholly orpartially,to his investigation,

    directreporting to supervisorsand othersatUS M ed,and otherw iseaffirm ative action to stop w hat

    he believed w ere irregular,unethical,and illegal/fraudulentpracticesm oving forward including

    actionsthathad the potentialeffectin defrauding the Governm ent.

       52.Padron wasretaliatedagainst,throughthreatsorotherwisethatimplicatedhisjob,when
    heorallynotifiedhissupervisorsandothersofchangeshewasimplementingmovingforward(and
    following-up onthecompany'scorrectiveactionsofpastoccurrences)and beingtoldhisdecisions
    were im pactingtheGnancesand cash tlow ofUS M ed & USM S. Thiswascom pounded when US

    M ed's CEO com plained about the pharm acy's Septem ber and October num bers insinuating

    Padron'sjobwasinjeopardyifthenumbersdidnotimprove;obviously,numberscannotimprove
    ifthere is no inventory to dispense.

       53.Padron wasfurtherretaliated againstwhen he w asabruptly suspended w hen he wastrying

    to reconcile an inventory-related issue w ith diabetic testing strips,especially in IightofaIIofthe

    other issuesand practiceshe uncovered,directly reported,followed-up on,allofw hich forced to

    work in a very unsettling environm ent.

       54.Padron'sactionsand directreporting to US M ed'ssupervisorsconstitute protected activity,

    particularly his reporting of billing practices to the Government (CM S) he believed to be
    fraudulent.

       55.As soon as Padron was placed on suspension, he sent a letter, through counsel, on

    Decem ber 3, 2017 regarding som e of the practices he had orally reported to US's M ed's

    supervisors. A copy of this Ietter is attached as Exhibit i$B''. N otw ithstanding, Padron was

    ultimatelydischarged onDecemberl8.20l7.(ExhibitûiA''5T22)
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 14 of 27




       56.Padron,pursuantto31USC j3730(h)(2)seeksreinstatement,twotimestheamountofback
    pay.intereston the back pay,and specialcompensatory dam agesas a resultofthe discrim ination

    /retaliatory conductsuch asem otionaldistress,Iitigation costsand reasonable attorneys'fees.

           W herefore,Padron seeksaIldamagesand reliefavailableto him under31USC j3730(h)
    including reinstatement,two tim esthe am ountofback pay,and specialcom pensatory damagesas

    a resultofthe discrim ination /retaliatory conductsuch as em otionaldistress,litigation costs and

    reasonable attorney'sfees.

                     CountIV - Florida W histleblow erAction A uainstUS M ed
                         (Action underFlorida Statute4448.102 bv Padron)
       57.Theallegationsin paragraphs 1-39 are incorporated herein.

       58.Thisisan action by Padron underFlorida stateIaw,specifically Florida Statute j448.102.

    PadronassertsthisactionpursuanttothisCourt'ssupplementalandpendentjurisdiction.
       59.Padrone upon his investigation and discovery of practices he believed to be unethical,

    irregular,and/orfraudulent/illegal,objectedtoandrefusedtoparticipateinsuchpracticeswhich
    hebelieved to be in violation ofIaws,rules,and regulations(including regulationsgoverning US
    M ed's pharm acy Iicense in Florida and numerous states it is Iicensed in as a nonresident

    pharmacy).
       60.Inadditiontotheabove,Padronobjectedtothemannerin whichUS Medwasoperating
    underrulesand regulations associated with pharmacy benefstmanagers (û'PBM ''). Particularly,
    Padronraisedobjectionstoanyongoingparticipationorinvolvementin:(i)US Meddispensing
    m ailorderdiabetic testing stripsunderPBM contractsw hen the contractsare retailcontracts and

    Padronbelievedthiswasaviolationofthecontract'
                                                ,and(ii)US Med,uponlosingacertainPBM




                                                   14
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 15 of 27




   contract,would purchase a retailpharmacy (thatitwould internally calla burner pharmacy7)
   withoutdisclosing tothePBM Sthetrue,new ownershipofthatpharmacy. (ExhibitCiA''!21).
        6l.Padron wasretaliated against,throughthreatsorotherwisethatimplicatedhisjob,when
    heorallynotifiedhissupervisorsandothersofchangeshewasimplementingmovingforward(and
   following-upon thecompany'scorrectiveactionsofpastoccurrences)and beingtoldhisdecisions
   were im pacting the financesand cash tlow ofUS M ed & USM S. Thiswascom pounded w hen US

   M ed's CEO com plained about the pharm acy's Septem ber and O ctober num bers insinuating

    Padron'sjobwasinjeopardyifthenumbersdidnotimprove'
                                                     ,obviously,numberscannotimprove
    ifthere is no inventory to dispense.

        62.Padronwasalsoretaliatedagainstwhenheobjectedto hisinvolvementandparticipation
    in practicesthatim pactU S M ed'spharm acy license and retailPBM contracts.

        63.AIIofthese isstles resulted in Padron working in an unsettling,tense,and stressfulwork

   environment.

        64.Padron was retaliated against by U S M ed due to his investigation,direct reporting to

    supervisorsandothersatUS Med,objectingto,andotherwiseaffirmativeactionto stopwhathe
    believed w ere irregular,unethical,and illegal/ fraudulent practices moving forward including

   actionsthatim pactpharm acy licensure requirem entsand retailPBM contracts.

        65.Padron wasabruptly suspended when he wastrying to reconcile an inventory-related issue

   w ith diabetictesting strips,especially in IightofaIloftheotherissuesand practiceshe uncovered,




    7Such pharm acy wasreferred to asa burnerpharmacy because when US M ed ora subsidiary pharmacy would Iosea
   PBM contract(i.e.,mailorderon a retailcontract,acquiring diabetic testing productinventory from unauthorized
   vendors,notdisclosingownershipofapharmacy),itwouldsimplybuyapharmacythatalsohadaPBM contractand
   gradually move patientsto thatpharmacy so thatitcould continueto billand generate revenue from the PBM S.The
   sentimentwasthatthispharm acy would ultim ately be burned and the practicewould repeatitself.
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 16 of 27




    directly reported.followed-up oneand objected topallofwhich forced him to work in avery
    unsettling environm ent.

       66.As soon as Padron was placed on suspension, he sent a Ietter, through counsel, on

    Decem ber 3, 20I7 regarding som e of the practices he had orally reported to US's M ed's

    supervisors. A copy of this letter is attached as Exhibit ûdB''. N otw ithstanding, Padron was

    ultimatelydischargedonDecemberl8,20l7.(ExhibitCiA''!22)
       67.Padron,pursuantto FloridaStatute j448.103,seeksfullreinstatement,compensationfor
    Iost wages and benefits,special/com pensatory damages such as em otionaldistress,attorney's

   feesand costs(perFla.Stat.j448.I04).
           W herefore, Padron seeks aIl relief and dam ages available to him under Florida's

    W histleblowerAct including reinstatement,com pensation for lostw ages and benefits,special/

   com pensatory dam ages such as em otionaldistress,attorney's fees and costs,and aIIother relief

   thisCourtdeemsjustandproper.
                                     JUR Y TRIAL DEM AND

           A jurytrialisdemandedonaIIissuessotriable.
    Dated this 27 dayofDecember,20l7.

                                               KIRW IN NO R RIS,P.A .

                                                /sD avid A delstein       ca/
                                              David M .Adelstein
                                              Florida BarN o.:647314
                                              dl'
                                                natki'
                                                     lI
                                                      tirvvi1-
                                                             1norris-col'
                                                                        n
                                              Kirwin N orris,P.A .
                                              l5 W .Church Street,Suite 30l
                                              O rlando,Florida 32801
                                              Phone:407-740-6600
                                              CounselforMarcosPadron




                                                 16
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 17 of 27




                        IG CLARATIbN CF Y ARCOSPAPRON
 DeclarantM arcosPa# on aflirm s:
    1. M y nam e isM r cos Padron. Iam overthe agc of18 and have personalknow ledge ofthe
       factssetfodh hetein.

    2. On April3û,2015,1was hired asthe Div torofPharmacy          , ionsofUS M ed.LLC
       (GUS M ed*'). lwasltired in a nonclinicalrole to handle the callcenterom rationsand
       weehouse and shipping op.e ions t'  Busintss ON mtions), lwas hirmd by US M o 's
       founderand fonneêPresident/CEO Zachary Schiffman.

    3. AfterlwashiredaandaâerH.I.G.Cqpital,LLC procuredownershipinIJSM ed.Stephen
       Forem anwashired asthenew President/cEo,M AryEllen ConwaywaghiredastheChief
       Compliance Om cer,Thomas Barton washiredq+! the ChiefSale# Oftitet,and Patricio
       Casillaswashired As the VP of Strategy & :ltsinessDevejopment. a trjoko casillms
       becam emydirectsupervisor.

    4. Patricio Casillasalso becmne adired supervisorofK im berly Brpom ,theDirectorofDM E
       Operations.Kimberly Btoom 'sdep< menthatldtesUSM ed'santlUnited VtatesM edical
       Supply.LLC'S CUSMSD Durable Medicalà'quipmentCbM E*')Medicaa billing to
       Centers forM edicare & M edlcaid ServieesIGCM S'*). She isalso m arried to US M ed's
       ChiefFinAncialOfticerClydalléob- Both Kitnbeily Bropp and ClydallBob were
       employedatUSMùdpriortoH.I.G.Capital,LL/'srecapiitaliiasionofUSMed.
    5. In oraroundJuly 2017,the pharm açiy
                                         stFem ando L?G arciaresigned and AdrienneM ichvllc
       Hom was hlred to replace him as US Mtd's licensed phgmacist(an: Sr.Clinical
       Pharmacistinchargeofa11Clinicalbecisiom).
    6. Adrienhe M ichelleHorn notifed methatsomtthing appeartd wtong with the mamlerin
       whichIJSMkdhadbeendispeljsinglnha
                                      t latidltbntgsfe.
                                                      t
                                                      gitAlbuferolSulfate.lpmtropium
       éromide. at
                 ldAlbuteiot/lprae pium)m thes(EViitlnloùking41ùsera114investigalingthis
                                          .



       concem,lIeamed thatFemando L.Garciakàs the Phannacist in Charge (Pharmacy
       DepartmentManager).had bee11changingtheffequencyofpatientgprescribe.dM alation
       Drugorders.therebyalteringthequantityofanInhatasiortDrugdispenstdtoapatient For
       example,ifaphysiman'sprescriptionforanIhhalationDrugealledforafrequencyoffour
       dailytrtatments,USMed(FemandoGarcia)wasonlydi#pensingthreedmlytreatments.
       Thisalteredthepresqribingphykician'sprescription(wlthotztanyidentifiableconsentfrom
       thephysician)andshort-changedtheprescribèdyuantityofthelnhalationDmggiventoa
       Patiem .M oreover,Ilearne.dthàtUS M ed'sM edïc'
                                                     atebilling departmentto CM S wasnot
       revisingbillingstoMedicare,tipaningthajCM Swasbeingbilledforthefullvaluçofthe
       Prescription(fnurdailytreatmvtsoftheInhalationl- g)when.inM lity,onlythreedaily
       treatmentswtu'
                    e beiag dippensed to tht patient. Thisnammlly had theeffectofan over-
       billingtoCM5 ferMedtcarelimdsthatwentbackpotentiallyanumberofyearsrtlatingto
                                              1                                         EXHIBIT
                                                                                  1 q
     Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 18 of 27




               the mannerin whkh Ué M H had been dispensing and billing CM S forM edicm'
                                                                                       e funds
               rtlating to lnhalatioh Dm gs.

               A larm ingly,howevet,I leam ed m uch m ort. 1 learned thatFernando L.Gm ia had
               betnpedbnpingdrttgutilizationreviews(DUR)priortodispensingtheInhalationDrugs.
               Noreasonpbleotappapplefrortiatlbeenmad:orinputintoUSM ed'sAbaeusdatabase
              regarding patient medio l history including medlcal conditions, clm m ic conditions.
              allergies, or other dm gs a patient was currently taking that could interfere with the
              prescribed lnbalation Dnzg.Thislackqf17UR wastxA m dyvpsetting becatksewithouta
              DUR,US M H could havv been dispo slng dmgswherea patieptèould be allergicto the
              drug,could have a dntg-to-dnzg interadion,or may have @ ttiug-to-existing-medical-
              con4ition interadion. Furtlwr,notikç
                                                 y,
                                                  rf'
                                                    Mrming anyDtA orhaving anymedicalreeord:or
              Progressnotesfrom aphysicianprlùrtodispensingandbhlingfhelnhalationDnzgsto
              CM S meatltthatUS M H could be dispenqktg dntgs withoutensuripg tbe drugswere
              m edically and reasonably nectssyrytothepatlent, ag,
                                                                 CM S requirtxè forM edicareftmds.
           8, 1also learnedthatFenpndo 1..Garcia,àsthepharmacist, had bcxen dispmwing M alation
              Drugswltboutanypatientcounseling being offeredtp tllepatient. 'rhere wagno verbalor
              written offertù counselapatientregatdingth:pmscribed lnhalationIX'URotanyrecord in
              theAbacuspltarrnacy tlatabaze ofthepatieàtforegoihjl'the'ofered co''
                              .
                                                                                 u'n'
                                                                                    ,
                                                                                    :
                                                                                    'èling and US
              M ed'sdatabasedir.
                               lnotdocumtntanysuchetrorts,whetùertothepatiensorthepatient's
              caregiver.asthecasemaybe.

           9 lalsoleam edtIIatUSM S,whichisg.p-talictensedpharmac#vwaàusingUSV e 'sphannacy
              license to dispe:se the drugsthatus/s bgls fordireètly; My ditectgupervisorisa
              manageydfUSV S.USMShascontcaçtsfoprescdbedtkg     'stùMedicare-ajptovedprivate
              health insvanceprovidersth/pgh Medte h'sPM C Coyerage Thçse plans are also
                                                                            .
              rcfel'
                   red to œs M edicare Advantage Plans. 1learned thatUSM S isbilling tht M edicart
              AdvMtagePlansforlnhalationlw gswh> fV lnhalytionDrugswerenotbei'
                                                                             ngdism rïsed
              byUSM S.butbyUS Med(sinceUSMS isnoyalicensedphpo acy)             .



           10.Idetermsped thatnpying forwar4 nolhhalalipn Dmg procrip1'
                                                                      $onswoltld beunilatem lly
                                                                       ,

              altere withouttheptescdbersconsent :.
                                                  114nodm gswotttdbèdispengedWithoutobtaining
              apatient'srrttdicalrecordsandèbùductingaDuk apdolreringpxtientcouugelinp
           1l.l then metwith tltt Pharmacy Supervisor attlie time, Cheryl Foye. to inquite about
                                  .


              Fernando L.Garcia'ychanging oflnhqlation Dtug treatmentgtopatients. 1lgarned inthis
             conversation thatt:e pliarmqcistapplently hattan unwritten nltm notto dispense any
             InhalationDrugtreytmewtstliatcalle;dforaiektlencyoffourtimedpçrdayatldwopld
             short-changesuchpAtientsbygnetrcatmentperday(bypnly(Vpensinéln%alationDrugs
             thatwould satisfya frm to cyofthreetimesperda#) Ialso le4ztiùd thatthiswas done
                                                                .

             withoutobt
                      Caining thept/, q
                                      i#
                                       kbingphysician'sqonsent. 1furthtrlemmedthatduttothe
             vollzmeof-work ro uired,t epharmacydid nothavt theresourvestocallpatientsortheir



&
>V
'
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 19 of 27




             physiciansto gd medicalrecords,conducta DUR, antlno patientcounseling wasbeing
             ofrered. Padron furtherIeprnedttlatno elèttswerebeingmpd:toadviskUS M ed'sDM E
             M edicarebilling departmentoftlwse saliN ttkçi., which wovld includean over-billipg to
             CMSforMedicaref$t111 w'  lïereCMSwagbètngbilledforfotzio ilyptescribedtreatmepts
             but,inattuality,onlythreedailyppscribedtreatmentswerebeingdisyt-
                                                                            npetl.
          12.limmediàtely wenttomy supervixfm Patto io Ciitlmss toreporttohim Fhutllee ed a144
             that1ftrmly believed thesediscovee practit- orissuestoV irregular.unethieal and
             gaudulent/illeg>l. lreported to m y stlpervisorthat Iw otlld notship outany lnhal,atio
             D                                                                                      n
                 rug: (or any (huès,foT tbatmatter) withoutcorrecuons pmving forward reglrding
             obtaining patientrecords,copducting DUA , and oFering patientçounsellg. 1aàked
             Patricio CAsillmswhvttherhe wanted yp disce theissutoftheprevioùsimproperbillings
             toCMSwithKimvriyBpom (DirectorofbMEOptratioh/ andPatricioCasillasadvised
             meto speak with htrdireclly.

          13.1 met with Kimberly Broom to rbporrp her ofthe praçtiœ s regardlng the improper
             Medicatebillingsthat1didnoiknow tkt;w farb>cktlisissuewçnt,anklthatthtsbilling
            issuenetdslobtrepottedtoCMSandrèctifie.ilwilhoverbillingsretumèd Ialso notifled
                                                                                    .
            Kimberly Broom regarding the làqk ofDURSand patiN ttotmseling underFem ando L
            Garcia's phatmacy regim e,which posçd a health safety risk to patients and whether.
                                    .

            m edically and reasonablynkcesgary dhlgswew being dispensed.

      14.A fkw days later,1 had a follow-up conversation with Patricio Casillms regarding my
         conversation withKimberlyBroomtPatticio Cmqillaxexpassed seriousconcern with m y
            impad tostopdkm nsinglnlkalationDrtlgswithoutpedbnniàgaDUR orofferingpatient
            cotmsvling sincethatdecisionhmsae gncialimpacton UsM M =2USM S.Forinstancc
                                                                                       ,
            ifmedicxlrecords:adtobmobiàtned fprpatientsawaitingan ordersothataDUR could
      '
            bepedbrmed,thiswouldrzsttltinabil(tlngslow-kownandimmedtatecashflow impact          .



      15.1then had adiscussion with Patticip CasillmsandClydallBob(ClliefFinancialOfficer)
            Where 1a% 14.
                        treported the issuesa414ptactices. Aglin.itwa:discugxd thatmy decision
            to xmedy ilw situation moving forFard tmder14i:controlposed an im mediatecash flow
            m ncem due tù the billing slow-down; ltheà àtatt.d thatupon leam ing oft*e practicesl
            believed weeittegul
                             v lm mwthicalànd
                            ''      .   .'
                                               fratidulep!/illegala 1w asnotgoing to ctmtinue w ith
                                                ' '      .
                                .           j;
            thç same pm dices. pe cùlarly thoj..
                                                e that càil hm'm a patient or violatt licensing
                                                                              .



            tetluiremo tg,withlmtdoing whaticouïd to cormd the issuesIcould cortectmoving
           forward.

     16.A few dayslater,Irtportedth<issuesandpracticesdired ly to M atyElle
           Com                                                              nConway(Chief
              plianceOftlcerlartdrelayedtheaforementionçdconversatiolsIhadwithothersatUS
           Med sothatt'
                      heissuesqould beaddrckssM andself
                                                        reportedtotegulatoryagencles.
                                                             -
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 20 of 27




       l7.A
          b fmvdayslater,1thenspokvdiredly with theCEO Stephtn Fprmmnn. (1hadpreviously
            etnadvisedbymysprwisor,PatticioCasillas,thatSt4phenForvxmanhadbeennotified
           of the issues and practlceg lhad reported.l ln addttion to Ivpo!>' these issq#s'and
              cticestoStephenForeman,ldirecdyadvisedhim th* USMM jio/dp.p.lbedispensing
           InhalationDrugsthatUSM S isbillinyFhènUSM Sdoespqthaveavalidpharmacylicense
                                                                     -
           and US M ed doeg not havt ttw contract to di
                                                      e nse thosed'
                                                             .
                                                                    rugsunderMedicre's
           AdvantagePlansunderV edicare'pPartC Covo ge. 1advised him ofm ylackofcomfort
           incontinuingtodososipcemyuhderstandingofMedicam billingspquiresthaltheDM E
           supplierhasto ylsobealicpnsq;pharmacyatldthattlw billingprovider(USM S)hasto
           dispense tl:e drugs. SkphmtForeman,despite my disagrtement, rtsponded that sinct
           USM S and US M H havt the sam e ownershipy itisacceptable forUS M ed to dispense
          dntpsthatUSM Sisbillingfor(e&'tnthoughUSV SisnotaliA sedphannacy) Stephen        .
          Foreman furthernotified mc thatthepmstoccurrenctswouldbeintem ally investigated and
          takun care oft

       18 From in or around July 1 Augtlst of 2017 through the end ofNovem ber 201V, and
          notwithstanding my personalfollow-ups, twas notadvisz' ofany selfwtmporting to any
          regulatory agency ofatly ofthe isAue:1intem ally riported. Thisincludesself-reporting
          any ofthe overbillingsto CM S To this poink Jwasno1even advised ofany ongoing
                                           .

          intem alinvestigation intothese issues.

       19.M eanwhile.the discovery ofiaegulv . :111et111* 1.anttH udulent1ill+ lpracticescreated
          averytense.uneasy,and stressfttlepye nment,spemiically fprme. Il:lulindvw ndently
                                                      .      '       '

          oully reportedtheissuesand pmcticestom ysup4x isorand otherswithin US M ed. Ihad
                                                              .          ,             ,



          workedtocorrec.
                        tthosepraptices&ytthihmy contv 1moving folwardxdespitebacklash
          regardingtheimmediatefinvpeialc*ilflow impactcorrecting issuesmoving forwamd
          wouldqeate.1wasdeçplytoncemeduboutthewell-beingofpatim tsthatweredispensed           .

          drugs by US M ed's phannacy without any DUR or patient counseling and with no
          underslanding as to how US M ed and USM S was goin: to ieportor p mediate past
          oçcurrenctsofthisissue. 1wasnervougti.
                                               atUS Med had been impropètlybillingand
          over-billingM edicarewithnoutïderstandinghow usM edw'asgoingtorepoh orremediate
          thispastoccurw nce. 1wassA ssed astopotentialpharmacy licensureviolations. notfmly
         in Floridabutin otherjurisdictiopswheteUS Medoperatesasanorzresidentphannacy              .
         And,US M ed'sCEO,Sfepllen ltormmàn, CFO,ClydallBob,and my SupervisorPltricio
         Casillaswereputtingadded presslzreonm erequiripgthepharmacyto improveitsûnancial
         num bers and thatthe numbers in September knd Odobç'r were unaocçptable, futther
         insinuating thatmyjobwould beinjeppardyift%enumbersdidnotA sticallyimprove
         tandthatlwasa driving forcebeliindlowernurribersdu< to thecorredivemeasuresIw'as
         implememtingl.i


  '1hadpreviouslyadvised US Medpe1,
                                  s4:140,1thatmy wi
                                                 ' lkhadaserio
  em ployment.                                                us,ongoingmedicalooM ition.1needed

                                                  4
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 21 of 27




      20.On the evenlng of Novembct 28, 2017, I was advised by the Phannacy O perations
         M anageç,Arlene Orenstein.thatthe pharmacy w as outofO neTopch D iabeticStrips. D ue
         to issuesandpracticesthatIhM'repodedandwerehein:ùncoverz ,andthefactthatcash-
         flow imN ttswetebeing directed tù me, 1becameconcerned why 1wasfindingoutybout
         thisissut aAerworking hours. n ere is à fairly se1schedule forUS M gd'sordering of
         inventory so nothavitv inverttory raises questionss particularty when the pharmacisthag
         discretiûntoordera4ditionalinventoryas-needvd. Thenex/plorningarojmd Bam ,1called
         thephannacist.Adnv
                          'meM ichelluHom (whthwàsonherwa#tojurydutylkinquitingwhy
         IlearnedthenightbtforetlïattàepharmacywasoutofOiitTouchDiabeticStrips. She
         advised mv thatthere was sufiicierttinventory,mising : very dubiousand troubling
         disconnectbetwxnwhat1hadb4çnadvisedVproximatelydfteenhourse lierbythe
         Phzarmacy Opetations M anager- During tht calland as lwas trying to reconcile the
         obviousdisconnect,the pharmadsthtmg pp t14e phone. ThatO tm oon lwas àbruptly
         plactd on paid suspension and lwasneveradvised whatthe diseonnectwasregarding
         itw entory levels between the personhelwhhin thepharmaty thatdealw 1t11the inventory.
         OtïDecemberl8,2017.my paid ku>pension cameto an end and my emplom entwas
         tenninated.

      21.Additionally,lobjectedto theme nerin whivh US Med wasopemting underrtllesand
         t'egulationsassœ iated with phannacy benetttmanagers(*SPBM ''). Pmticulurly, lraised
         objectionsto anyongping participation orinvolvementin:(i)US Med dispensing mail
         orderdiàbdictese g stripsundeliPBM contract,swhen the tonsractsart retailcontvads
         and1believedthis@as@violationofthecontract;and(ii)USMed,upon losing acertain
        PBM contract,woul: purchase a rdailpharma<y (thatwasintmnally called a bunwr
        Phannacy)withoutdiscl
                            ositlgtothePBMSthtmzesnew owneahipofihatphannqœy,Such
        pharmacy wo refe/ed to ésa btlm çrpharmacy because when US M ed orl subsidiary
          ,       .                   '   .
        phatmacy wpuld lose a PBM contract, (i.
                                              m,maslotderon a mtailcoptcact acquiring
        diabetictmstingproductinventoryfrom unauthoriedvpndors,notdlsclosie owne#shipof
        apharmacy).itwouldsimplyhuyaphkrmacythvtalsohadaPBM contractandgradually
                                              ,

        movepatiehtsto thatpharmacyso t% titèouldcùiitinuetobillandgenemierevenuefrom
        the PBM S.The sentimentwas thatthià pharmaty would ultimatdy be bum ed atld the
        practicewould rvperatiœ lf.

     22.As sopp as 1 was placed on Auspension, Isenta ldtvr.throttgh counsel,pp December3
        2017 regartting som: ofthe pmcticeslhad om lly repotted toUS'sM ed's#upervisors. A,
        copy ofthis letierisattached àsExhibit%tB''to the Complaint. Notwithxtantling,lwas
        ultimatelydischarge onDecember1t,2017.
        UnderN naltiesorpeljuryandperFloridaStatutej95,525,1declarethatIhavtmadthe
        foregoingynd that1he fact,
                                 sstated in itm'
                                               etrut to thebestofmy knowledge.
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 22 of 27
                                 )                                 '

                             /
                             .
                              1                   Y                      '
                            / ......-,'.a'.----       <<
                                                      .... .. r....
                                                                  v:ax       rr,y;j;;...... ,. .
      (L.x              '
             Si '.
                 ature#M arcox Padron
              /;--(
                  '
                  ---
                                     ..
                                                          g        .
                                                                   ..                    g
                                                                                         jp
                                                                                          /
                                                                                          ;
                                                                                          '
             Pate
             t                                                Ij
             1.




                                                                                                   6
            Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 23 of 27
                                                                                                          IE
                                                                                                           ô.
                                                                                                            X L1l1)1-1-1)
                                                                                                                                                KIRWIN NORRIS,P.A.
;ù'' ti
      l'' <f,
            r                      <
                                   .$
                                   'r.
                                     .                       '
                                                             Sj
                                                             rJ!
                                                               '
                                                               .s E.f
                                                                    'k
                                                                     '                                                                   I5W .Church Street,Ste.30l
@ft?s
    *;i;
       ?: .   ;.
              .k,
                .
                k 9. .
                     s$;
                       ,; ./
                           'F
                            .. j ,..
                                   <
                                   ,p
                                   çe
                                    #
                                    y.
                                     rz
                                      ;-.....
                                            .;.p'
                                                :.           jrd
                                                             ,'<r
                                                               $ hk &
                                                                .:  :
                                                                    y w'.
                                                                    i
                                                                    '                               d.
                                                                                                    .E?
                                                                                                     ê.
                                                                                                      :
$
' .s-
jik .   x
        .
        $
              v
              x
               ;
               ;
                -
                l
                s
                  .
                  ïg
                    .
                    g
                     r
                     -
                     .y
                      .u
                       h)
                        k
                         n. .
                            .
                            C!
                             ù
                               ....v .
                               ..         -.                 . ,
                                                             .-r  . ,
                                                                    <:
                                                                    -   <',d
                                                                     . .,  >.?.';        .
                                                                                Cj.'S,,. > ..
                                                                                          ,>,.r:....,
                                                                                                    .
                                                                                                    ti..:.
                                                                                                     r   '-
                                                                                                          v
                                                                                                          ,s
                                                                                                           .s
                                                                                                            .
                                                                                                            4
                                                                                                            b
                                                                                                           :k
                                                                                                            p
                                                                                                            g.
                                                                                                             ,                                    Orlando,R 3280I
                                   kïE$
                                      ï9
                                       rs                    ;
                                                             jùf   .
                                                                   q
                                                                   e
                                                                   j
                                                                   .
                                                                   '
                                                                   ;.
                             e
                             ;1                                    .,
                                                                    ,
                                                                    r
                                                                    '.$
                                                                    .
                                                                    ,  '
                                                                       $
                                                                       ï
                                                                       .J   .            J.
                                                                                         .
                                                                                         'r s   r;          :3,
                                                                                                              .
                                                                                                              :
                                                                                                              f
:
.
, .'
   6
   à.. :
;;; x( 7
       ;J;
         E'z
           #,z1
              5
              '
              .
            . .:
         x,,;  .j
                : ;j
                   ;. . . ... j.        E $rr    .           5
                                                             4
                                                             9 r
                                                               t
                                                               ;
                                                               o
                                                               :
                                                               ,
                                                               yir
                                                                 x
                                                                 j
                                                                 .
                                                                 $
                                                                 6
                                                                 .
                                                             z'' a
                                                             a    '
                                                                  r
                                                                  <
                                                                  $<
                                                                   .
                                                                   $'
                                                                    .;
                                                                   ..
                                                                    . j
                                                                      : jj
                                                                         . jj
                                                                            x
                                                                            ;
                                                                            .;
                                                                             t
                                                                             (
                                                                             .;
                                                                              ,
                                                                              <
                                                                              y
                                                                              eg
                                                                               r$
                                                                                .
                                                                                ;
                                                                                ,
                                                                                .                                                           Telephone:407.740.6600
                                                                                                                                                DAVID M.ADEUTEIN
                                                                                                                                           DIRK T LINE:954.295.6117
                                                                                                                                        EMAIL;dma@kirwinnorri
                                                                                                                                                            s.com

                                       Decem ber3.20I7

                                       Via Em ail(sforem anl usm ed.com )
                                       Stephen Forem an,M anaging M em ber
                                       US M ed,LLC
                                       8260 N W 27thstreet Suite 401
                                       Doral,FL 333I22

                                                                                    Retaliatory and A dverse Em ploym entAction Taken A gainst
                                                                                    Em ployee M arcosPadron

                                                        IrepresentUS M ed,LLC'S (ûûUS M ed'')employee,M arcos Padron (::Padron''),in
                                       connection w ith a wholly or partially m otivated adverse and retaliatory em ploym entaction
                                       taken by US Medastheresultofhisverbalreporting andobjectionsto US M ed'sbusiness
                                       practices thathe construed asunethical,irregular,and/orillegal. Previously,Padron notified
                                       youand otherofficersatUS Med ofthesepracticesalong with hisobjectionsto US Med
                                       continuing with,and notcorrecting,these practices. Padron is reiterating these practices in
                                       writing,hisobjectionstothese practices,and hisdesire forUS Med to reasonably correct
                                       such practices,since they form a basis of U S M edes retaliatory and adverse em ployment
                                       action discussed herein.


                                                     1. Padron's Reportine ofUnethicalslrreeular.and/or llleealPractices

                                                        US M ed isan authorized PartB M edicare supplierofdurable medicalequipmentand
                                       getsreimbursed by M edicare (commercialinsuranceand managed careplans)fordispensing
                                       diabetic testing strips,respiratory equipm entand supplies,orthotics,cathetersand,applicable
                                       here, inhalation drugs (e.g., Albuterol Sulfate, Ipratropium Brom ide, and Duoneb)
                                       (bblnhalation Drugs''). US M edsin itscapacity in dispensing such drugs,needsto maintain
                                       an active pharmacy license,meaning itneeds to be licensed as a pharmacy and m usthave a
                                       Iicensed pharm acistthatenablesUS M ed to dispensedrugs.

                                              US M ed, in its role as a m ail-order pharm acy, would need to be Iicensed through
                                       Florida's Board of Pharm acy and otherstates'Boards of Pharm acies,orregulating agencies
                                       where itisdispensing drugsthrough the m ail.

                                              US M ed,in its role as a supplierofdurable m edicalequipm ent,would billM edicare
                                       forthe prescribed drugs and,in its role as a Iicensed pharm acy,would dispense those drugs
                                       pursuantto a prescription.

                                               ln oraround July 20l7,Padron alarm ingly Iearned thatUS M ed had been engaging in
                                       certain im proprieties thathe perceived to be unethical,irregularand/or illegal. Specifically,
                                       he Iearned:
                                                                                                                                                         FIHIB/
                                                                                                                                                 1
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 24 of 27




             l) US M ed,through itspriorIicensed pharmacist,wasshort-changing prescriptions
                 for Inhalation Drugs. Forinstance,ifa prescription to a patientforan lnhalation
                 Drug called for a frequency of four daily treatm ents, US M ed was only
                 dispensing three daily treatments, altering the originalphysician's prescription
                 w ithout first contacting the physician for approval and, short-changing the
                 prescribed quantity ofthe Inhalation Drugs given to the patient. However,US
                 M ed w as not changing the quantity in its billings to M edicare. Stated
                 differently, Padron Iearned that US M ed w as billing M edicare as a durable
                 m edicalequipmentsupplierforthe prescribed Inhalation Drug treatm entsdespite
                 dispensing a Iesserguantity ofprescribed Inhalation Drug treatm entsthrough its
                 pharm acy to the patient. US M ed w as also billing M edicare w ithouthaving the
                 doctor's medicalrecords (progress notes) to corroborate the patient's medical
                  necessity.

             2) US M ed wasnotscreening,perfbrming drug utilization review (--DUR'')priorto
                 dispensing drugs such as the Inhalation Drugs. N o effortwas m ade to collector
                 include any m edical history from the patient in U S M ed's drug prescription
                 fslling and dispensing. Such m edical history w ould include patient allergies,
                 m edical conditions including chronic conditions, or other drugs a patient w as
                 taking thatcould interfere orinteractw ith the prescribed drug. This Iack ofD UR
                 was im mediately distressing because US M ed could be dispensing drugs w here a
                  patient(i)may beallergic (such asadrug with Sulfateknowingthere arepeople
                  allergic to Sulfa),(ii)may have a drug-to-drug interaction,or(iii)may have a
                  drug-to-existing m edicalcondition interaction.

                  US M edson certain occasions,was filling and dispensing drugsbased on expired
                  prescriptions.And,

             4) US Med was dispensing drugs withoutany patient counseling. No verbalor
                  printed offer to counsela patient was provided in w riting or otherwise. There
                  was nothing in US M ed's pharm acy system thatdocum ents any such counseling
                  efforts by the pharm acistto patientsortheircaregivers.

             As you are aware,Padron metwith you (and others at US Med) and notifsed and
      reported to you these business practices, that he perceived these practices to be illegal,
      irregular,and unethical,and thathedid notwantto continueengaging in thesepractices(and
      thathe otherwise w' anted these business practices reasonably corrected).W ithoutany DUR
      or patient counseling there w as not a viable way for US M ed to safely m onitor drugs
      dispensed to a patient. Padron has been involved in correcting certain practices w ithin his
      reasonable controlm oving forward. However,Padron isunaware ofany efforts US M ed has
      ilnplementedto rectify incorrectMedicare billings(and he doesnotknow how farback this
      goes),contactprescribersorinform regulatory agenciesto make them aware ofthe lack of
      DURS, or otherw ise check on patients that it dispensed drugs to w ithout collecting any
      medical history or not providing any patient counseling. In addition,the reason this is
      im portantis to ensure an adverse eventhas notoccurred and w illnotoccurto a patient. US
      M ed has notshared any corrective action plan w ith Padron despite Padron m eeting w ith you
      and others regarding his im m ediate concerns about these practices and, of course, any
      corrective action.
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 25 of 27




             ll.Padron's FM LA Claim atthe Direction ofUS M ed

             ln or around early N ovem ber 20l7,Padron notified U S M ed's H uman Resources
      (:'HR'')department,viaaphysician'sIetter,forhisneed foraccommodationsdueto radiating
      arm and back pain thatwas preventing him from sitting athis desk for Iong durations. The
      purpose of his notification was to advise H R of this fact and that he w ould be seeking
      m edicalopinions regarding his condition and the accomm odations sought. Padron did not
      know whether he w ould even need to use any paid time off to accom modate the doctor's
      appointm ents. N onetheless,HR advised Padron that he needed to tsll-out and furnish H R
      w ith a Certification ofHea1th Care providerforEm ployee'sSerious HeaIth Condition - a US
      DepartmentofLaborForm dealingwiththe Family and M edicalLeave Act(t:FM LA'/).
             Padron Glled out this form on Novem ber 6, 2017 and subm itted the required
      paperwork from his physician to H R. HR,forreasons unbeknownstto Padron,denied his
      requeston Novem ber 15,20l7 claim ing hisphysician did notproperly t5lloutthe paperwork.
      Keep in m ind thatthe subm ission ofthe form supported by a physician w as atthe behestof
      H R.

             Padron re-subm itted the paperwork along w ith m edicalnotes on N ovem ber22,2017
      to H R. O nce more, for reasons unbeknownst to Padron, HR orally denied this request.
      Padron again explained to H R that he is in the process of scheduling an M Rlscan,other
      doctor's appointm ents,and physicaltherapy pending the M R Iresults,and m ay need to m iss
      work for these appointm ents. No response has been provided to Padron's re-subm itted
      requestotherthan HR 'soraldenial.


                lll-Adverse and R etaliatorv Em plovm entAction

              On N ovember 28, 20l7, Padron w as advised by US M ed's Pharm acy Operations
      M anagerafter 5pm thatUS M ed wasoutofO ne Touch Diabetic Testing Strips. Nothaving
      inventory is a big dealbecause the pharm acy cannotdispense orders w ithout inventory and
      this would impact month end num bers. D uring prior m eetings,you advised Padron and
      others that the pharm acy's Septem ber and October m onth-end numbers were unacceptable
      and that the pharm acy needed to drastically im prove its num bers or else there would be
      potential dow nsizing in the pharmacy, i.e., insinuating that Padron's em ploym ent was
      directly injeopardyifthepharmacy'snumbersdidnotimprove.And,asyouareaware,the
      numberscannotim prove w ithoutthe appropriate inventory.

             Although there is a schedule for ordering supplies (inventory), the Pharmacy
      Operations Manager and Pharmacy Department Manager (licensed pharmacist) have
      discretion to order additionalsupplies as-needed so thatthe pharm acy has the inventory to
      dispense orders. Accordinglye Padron called the Pharm acy Department M anager on
      November29,20l7 around 8am,even though shewason herway tojury duty,inquiring
      how US M ed could run outof inventory to dispense diabetic testing strips. The Pharm acy
      Departm ent M anager responded that there was inventory contradicting w hat Padron was
      advised the nightearlierby the Pharmacy Operations M anager. During the callPadron was
      trying to reconcile the disconnectbetw een whatboth the Pharm acy Departm entM anagerand
      Pharm acy Operations M anager were telling him regarding inventory levels.The Pharm acy
                                                                                     (
                                                                                     5
                                                                                     !
                                                                                     kI1ï
                                                                                        'C)
                                                                                          $j
                                                                                           :
                                                                                           (rdL
                                                                                              ;
                                                                                              -
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 26 of 27




      Departm entM anagerelected to end the calland thatatkernoon after5pm Padron w asnotitsed
      thathe w asbeing senthom e and placed on paid suspension. Padron stilldoes notknow what
      prom pted the disconnect regarding inventory levels betw een the Pharm acy O perations
      M anagerand Pharm acy DepartmentM anagerand he was abruptly suspended before he could
      dig into the details regarding this issue. Prior to this suspension,Padron had never been
      advisedofany issueorconcernwithhisemploymentotherthantheinsinuationthathisjob
      wasinjeopardyifthepharmacydidnotdrasticallyimproveitsnumbers.
              To date,Padron has notbeen asked to answer any questionsregarding the issues that
      prom pted the post-spm suspension,provide any inform ation,and he has not received any
      clarification regarding thedisconnectin inventory Ievels.

             Atthis point,Padron believes the suspension is wholly or partially motivated by his
       reporting,objections,and follow-upsto unethical,irregular,and illegalbusiness practices
      and overt efforts he has taken for US M ed to correct such practices m oving forw ard.
      Clearly, US M ed is not interested in correcting or self-reporting any violations associated
      w ith its business practices since it presum ably could result in potentialrepercussions w ith
      M edicare, as well as potential issues w ith its pharm acy Iicenses based on the m anner in
      w hich ithasdispensed drugs. Perhapsthis isalso the resultof Padron notifying US M ed that
      he w ould need certain accom modations and would Iike to use certain tim e off,asneeded,to
      dealwith doctor-s appointm ents and therapy supported by the physician's records that US
      M ed asked him to furnish. Either w ay. the suspension of Padron's em ploym ent is
      unnerving.


                 lv.Evidence Preservation

              You are hereby notified to preserve,and not destroy,spoil,or alter,alIrecords you
      maintain,whether stored electronically or digitally on your Abacus database or otherw ise,
      relating to the issues in this Ietter. This includes aIIrecords relating to M edicare billing and
      paym ents, prescriptions received, prescriptions dispensed, DURS, patient counseling,
      inventory ordering,inventory Ievels,M edicare audits,internalprotocols and quality control
      standardsapplicable to receiving prescriptionsand dispensing drugs,and any recordsrelating
      to reportihg to BoardsofPharm acy and M edicare the issues reported by Padron.

              Additionallysyou are notified to preservesand notdestroy,spoil,oralter,aIIrecords
      you m aintain, whether stored electronically or digitally on your Abacus database or
      otherw ise,any FM LA requestsreceived from otherem ployees,the granting ofsuch requests,
      the ability to allow em ployeesto use accrued paid time off,com pany policies relating to the
      sam e,and any records,notes-orm em os relating to HR's requestto Padron to subm itFM LA
      paperwork to use accrued paid tim e offforcertain doctorappointm entsand therapy.


                 V. R equestforM eetin:

              Padron has been asked to report back to work on Tuesday, Decem ber 5, 20l7
      follow ing his paid suspension to discuss the basisofthe suspension.However,in lightofthe
      severity ofthe issues and concerns raised in this Ietter,Padron requests a m eeting during the
      week of Decem ber l1thw ith counselpresent to im m ediately resolve the issues set forth in
      this Ietter and follow-up on his reporting of irregularities to you. and particularly any
                                                                                           k
                                                                                           t
                                                                                           lkIl'
                                                                                               ,ktl
                                                                                                  q
                                                                                                  t
                                                                                                  l3.-
Case 1:17-cv-24687-UU Document 1 Entered on FLSD Docket 12/27/2017 Page 27 of 27




      reasonable corrective action plan m oving forward. Please directaIIcom m unications to m e
      regarding the contents ofthisletterorPadron'srequestfora meeting w ith counsel.

                                                        Yourstruly,


                                                        David Adelstein


             ClydallBob,CFO (cbobb@ usmed.com)
             MaryEllenConway,CCO (MEconway@usmed.com)
             PatricioCasillas,VPofStrategy(pcaslllas@ usmed.com)
             CraigGreentseld,Esq.(cgreenfield@ usmed.com)
